                           EXHIBIT 1




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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


Mineral Point Consulting LLC,                                           2:25-cv-868
                                                              Case No. _____________

              Plaintiff,

       v.                                                    COMPLAINT

Benhti Economic Development Corporation,

              Defendant.


       For its Complaint against Defendant Benhti Economic Development Corporation

(“BEDCO”), Plaintiff Mineral Point Consulting LLC (“Mineral Point”) states and alleges:

                                        PARTIES

       1.     Mineral Point is a limited liability company formed in the State of Wyoming

with a principal place of business located at 6801 Jefferson Street NE, Suite 150 PMB

3150, Albuquerque, New Mexico. Mineral Point has a single member, who is an individual

domiciled in Wisconsin. Mineral Point is thus a citizen of Wisconsin for purposes of

diversity jurisdiction under 28 U.S.C. § 1332(a).

       2.     BEDCO is a corporation chartered under Tribal law by the Native Village of

Minto (“the Tribe”), a federally recognized Indian tribe located in Minto, Alaska.

BEDCO’s principal place of business is located at 100 Cushman Street, Suite 306,

Fairbanks, Alaska. BEDCO is a citizen of Alaska for purposes of diversity jurisdiction

under 28 U.S.C. § 1332(a). See Wells Fargo Bank, Nat. Ass’n v. Lake of the Torches Econ.

Dev. Corp., 658 F.3d 684, 693 (7th Cir. 2011) (“[A] corporation chartered under Native




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American tribal law should be treated as a citizen of a state pursuant to § 1332(c).”).

BEDCO’s chartered subsidiaries include Minto Financial and Tolovana Financial.

                            JURISDICTION AND VENUE

      3.     This Court has jurisdiction over this matter under 28 U.S.C. § 1332(a)

because there is complete diversity of citizenship between the parties and the amount in

controversy exceeds $75,000, exclusive of interests and costs.

      4.     This Court has personal jurisdiction over BEDCO because this dispute is

covered by contracts and agreements providing for exclusive jurisdiction in Wisconsin, and

BEDCO has therefore consented to submit to personal jurisdiction in Wisconsin.

      5.     Venue is proper in this Court because this dispute is covered by contracts and

agreements providing for exclusive jurisdiction and venue in Wisconsin for all disputes

arising out of such agreements. Venue is also proper in this Court because a substantial

part of the events or omissions giving rise to the claim occurred in this district, as the

services performed under the parties’ contracts and agreements were performed in

Wisconsin.

      6.     All requirements and conditions precedent to bringing this action have been

satisfied, performed, or waived.

                             FACTUAL ALLEGATIONS

                                    The Agreement

      7.     On December 3, 2022, BEDCO and Mineral Point executed the Executive

Management Consultant Engagement and Services Agreement (“the Agreement”). A copy

of the Agreement is attached as Exhibit A.


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       8.      The Agreement was reviewed, authorized, and executed by BEDCO under

Resolution No. 2022-18 of its Board of Directors. A copy of Resolution No. 2022-18 to

Approve Executive Management Consultant Engagement and Management Services

Agreement is attached as Exhibit B.

       9.      Under the Agreement, Mineral Point provided certain consulting services

(the “Services”) to BEDCO with respect to BEDCO and its subsidiaries’ consumer lending

operations. The scope of Services provided are described in Appendix A, which was

attached to and incorporated into the Agreement. (Ex. A at 1, 13-14.)

       10.     The parties agreed that the Agreement would remain in effect for the longer

of (1) five years, or (2) any period during which BEDCO or its subsidiaries maintained a

balance on any loan or line of credit issued by it by a lender introduced to BEDCO by

Mineral Point, unless the Agreement was terminated in accordance with the Agreement’s

terms. (Id. at 2.)

       11.     The Agreement permits either party to terminate the Agreement for any

reason upon 90 days’ written notice in the event of termination by BEDCO or 30 days’

written notice in the event of termination by Mineral Point. (Id.)

       12.     As compensation for Mineral Point’s consulting services, BEDCO agreed to

pay Mineral Point a monthly fee for services (“the Services Fee”) equal to three quarters

of one percent (.075%) of monthly net revenue derived from the consumer lending

operations conducted by BEDCO’s wholly owned subsidiaries. (Id. at 3, 14.)

       13.     Under the Agreement, the Services Fee is calculated as of the close of

business each month during the term of the Agreement. (Id. at 14.)


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         14.   To enable the parties to calculate the Services Fee, the Agreement requires

BEDCO to provide Mineral Point with monthly verification and access to financial reports.

(Id.)

         15.   The Services Fee is due and payable to Mineral Point on the 15th day

following the close of every month during the term of the Agreement. (Id.)

         16.   In the event that BEDCO withholds any payments from Mineral Point due to

a dispute regarding the Services, BEDCO is required to provide Mineral Point with a

detailed written notice setting forth the reason for refusing to pay and afford Mineral Point

a reasonable opportunity to correct the disputed work. (Id. at 3.)

         17.   If any amount owed to Mineral Point remains delinquent for 30 days after

the due date and BEDCO has not disputed the invoice, then any such amount incurs interest

at a rate of 1.5% per month. (Id.) Mineral Point has the right to pause all work until all late

payments are made. (Id.) If Mineral Point pauses work, Mineral Point remains entitled to

payment under the Agreement while work is paused. (Id.)

         18.   The Agreement also provides that in the event of a termination by either

party, BEDCO must pay Mineral Point for (1) all services rendered by Mineral Point during

the term of the Agreement, including any Services provided by Mineral Point during the

contractually required termination notice period, and (2) a termination fee equal to the sum

of one half of one percent (.5%) of the monthly net revenue of BEDCO’s consumer lending

subsidiaries for every month that BEDCO maintained a balance on any loan or line of credit

issued by any lender introduced to BEDCO by Mineral Point (“the Termination Fee”). (Id.

at 2.)


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        19.   Since the Agreement was executed, Mineral Point has continuously provided

services to BEDCO and its subsidiaries. Until May 2025, BEDCO timely paid Mineral

Point’s invoices on a monthly basis.

        20.   Mineral Point has helped grow BEDCO’s consumer lending business into a

highly successful and profitable online lending business.

                           BEDCO Breaches the Agreement

        21.   On May 9, 2025, consistent with the parties’ past practices under the

Agreement, Mineral Point provided an invoice to BEDCO for services rendered during the

April 2025 billing period. The invoice requested payment in the amount of $90,549.57. A

copy of the invoice is attached as Exhibit C.

        22.   BEDCO did not pay amounts due for services rendered in April 2025 by May

15, 2025, as required by the Agreement.

        23.   On May 16, 2025, Mineral Point sent an email to BEDCO requesting that it

promptly issue payment as required by the Agreement.

        24.   BEDCO did not issue the requested payment.

        25.   BEDCO did not provide written notice of any dispute as to the fees reflected

in the April 2025 invoice or the services rendered by Mineral Point. BEDCO has not

provided any notice of a dispute regarding the Services.

        26.   To date, BEDCO has not made any payment for services rendered in April

2025.




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       27.    On June 11, 2025, Mineral Point provided an invoice to BEDCO for services

rendered during the May 2025 billing period. The invoice requested payment in the amount

of $101,913.12. A copy of the invoice is attached as Exhibit D.

       28.    BEDCO did not pay amounts due for services rendered in May 2025 by June

15, 2025, as required by the Agreement.

       29.    BEDCO has not provided notice that it disputes the fee amount or services

provided. It continues to benefit from the services Mineral Point provided but refuses to

pay for those services.

                                    COUNT ONE
                                  Breach of Contract

       30.    Mineral Point realleges paragraphs 1 through 29 of this complaint.

       31.    The Agreement is a valid contract creating obligations between BEDCO and

Mineral Point.

       32.    The Agreement required BEDCO to pay the Services Fee for April 2025 to

Mineral Point by May 15, 2025.

       33.    BEDCO failed to pay the Services Fee by May 15, 2025. To date, BEDCO

has not paid the Services Fee for April 2025.

       34.    The Agreement required BEDCO to pay the Services Fee for May 2025 to

Mineral Point by June 15, 2025.

       35.    BEDCO failed to pay the Services Fee by June 15, 2025. To date, BEDCO

has not paid the Services Fee for May 2025.




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       36.     BEDCO breached the Agreement and continues to breach the Agreement by

failing to pay Services Fees owed under the Agreement.

       37.     As a result of BEDCO’s breach of the Agreement, Mineral Point has suffered

damages in an amount to be determined at trial.

                                      COUNT TWO
                                    Unjust Enrichment

       38.     Mineral Point realleges paragraphs 1 through 29 of this complaint.

       39.     Mineral Point conferred a benefit on BEDCO by rendering the Services to

BEDCO.

       40.     BEDCO voluntarily and knowingly accepted and retained the benefit

conferred on it by Mineral Point.

       41.     In these circumstances, it is inequitable for BEDCO to accept and retain the

benefit of the Services without paying for the Services.

       WHEREFORE, Mineral Point requests the following relief:

       1.      Judgment in favor of Mineral Point and against BEDCO on the claims set

forth above;

       2.      Awarding Mineral Point damages against BEDCO based on the claims set

forth above, including but not limited to any and all unpaid Services Fees and interest on

any late-paid amounts, in an amount exceeding $75,000 to be proven at trial;

       3.      Awarding Mineral Point its costs, disbursements, and attorneys’ fees

incurred in this matter;

       4.      Such other and further relief as the Court deems just and equitable.



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Dated: June 17, 2025                   /s/ Mark Vyvyan
                                       Mark W. Vyvyan (#1024299)
                                       FREDRIKSON & BYRON, P.A.
                                       60 South Sixth Street
                                       Suite 1500
                                       Minneapolis, MN 55402-4400
                                       (612) 492-7000
                                       mvyvyan@fredlaw.com

                                       Attorney for Plaintiff




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JS 44 (Rev. 10/20)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules
of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
                                                required):            Green Bay Division              Milwaukee Division
I. (a) PLAINTIFFS                                                                                             DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)




II. BASIS OF JURISDICTION                                                    Only)             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                          in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
   1   U.S. Government                    3 Federal Question                                                                      PTF         DEF                                             PTF       DEF
         Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State            1          1      Incorporated orPrincipal Place               4     4
                                                                                                                                                         of Business In This State

   2   U.S. Government                    4 Diversity                                               Citizen of Another State            2          2   Incorporated and Principal Place             5       5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                               6       6
                                                                                                      Foreign Country
IV. NATURE OF SUIT                                                Only)                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                                FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                           310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                       315 Airplane Product                Product Liability          690 Other                                28 USC 157                         3729(a))
   140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                       400 State Reapportionment
   150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment             Slander                        Personal Injury                                                  820 Copyrights                    430 Banks and Banking
   151 Medicare Act                     330 Federal                         Product Liability                                                830 Patent                        450 Commerce
   152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
        Student Loans                   340 Marine                          Injury Product                                                       New Drug Application          470 Racketeer Influenced and
        (Excludes Veterans)             345 Marine Product                  Liability                                                        840 Trademark                         Corrupt Organizations
   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
       of          Benefits             350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                  Act of 2016                       (15 USC 1681 or 1692)
   160               Suits              355 Motor Vehicle               371 Truth in Lending               Act                                                                 485 Telephone Consumer
   190 Other Contract                       Product Liability           380 Other Personal             720 Labor/Management                  SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability       360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                   490 Cable/Sat TV
   196 Franchise                            Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)               850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                            Medical Malpractice                                             Leave Act                       864 SSID Title XVI                 890 Other Statutory Actions
       REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
   210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                 893 Environmental Matters
   220 Foreclosure                      441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff              Act
   240 Torts to Land                    443 Housing/                        Sentence                                                             or Defendant)                 896 Arbitration
   245 Tort Product Liability               Accommodations              530 General                                                         871 IRS Third Party                899 Administrative Procedure
   290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                       Act/Review or Appeal of
                                            Employment                  Other:                         462 Naturalization Application                                              Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                   950 Constitutionality of
                                            Other                       550 Civil Rights                   Actions                                                                 State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN                                     Only)
  1 Original                2 Removed from                    3      Remanded from               4 Reinstated or              5 Transferred from     6 Multidistrict                      8 Multidistrict
    Proceeding                State Court                            Appellate Court               Reopened                     Another District          Litigation -                      Litigation -
                                                                                                                                (specify)                 Transfer                          Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity ):
VI. CAUSE OF ACTION                       Brief description of cause:

VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                               Damages in amount over $75,000               JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                             (See           structions):
      IF ANY                                                        JUDGE                                                                   DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY
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   RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                            MAG. JUDGE
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AO 440 (Rev. 06/12) Summons in a Civil Action

                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District of Wisconsin

                                                                       )
                                                                       )
                 Mineral Point Consulting LLC
                                                                       )
                                                                       )
                             Plaintiff(s)
                                                                       )
                                  V.                                   )      Civil Action No. 2:25-cv-868
                                                                       )
                                                                       )
          Benhti Economic Development Corporation                      )
                                                                       )
                            Defendant(s)
                                                                       )
                                                   SUMMONS IN A CIVIL ACTION
                                       Benhti Economic Development Corporation
To:   (Defendant's name and address)   100 Cushman Street, Suite 306
                                       Fairbanks, Alaska 99710



          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you receive it) - or 60 days if you are
the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the plaintiff's attorney, whose
name and address are:          Mark Vyvyan - Counsel of Record for Plaintiff Mineral Point Consulting LLC
                                        Fredrikson & Byron, P.A.
                                        60 South Sixth Street, Suite 1500
                                        Minneapolis, MN 55402
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                GINA M COLLETTL CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk




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